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Plaintiff’s injuries were sustained as she was tackled from behind by the police that evening, hog-tied
and dragged to a police cruiser (please refer to photographs provided in exhibit #1) and ambulance
workers were called to the 14" precinct to examine Plaintiff. Plaintiff had called 911 and then ended up
black and blue. Plaintiff’s lawyer spent months trying to subpoena all relevant video and audio
material. When the tape finally appeared it had been tampered with omitting the exchange outside the
midtown bar where Plaintiff beseeched officers to taker her 61 report and they summarily dismissed
her. Eventually when the full un-edited tapes arrived in court months later the officers all lied and said
that Plaintiff had screamed at the top of my lungs “Fuck you” even though the video does not show
this nor did the officers report this in their CCRB interviews or make any notation of it in their
logbooks (Exhibit#19 CCRB audiotapes and Exhibit # 20 officer logbooks).

On or about October, 2011, Price’s cellular phone company, Metro PCS informs Price that her phone
line is being tracked by law enforcement in violation of her state and federal right to privacy.

On October 25, 2011 Plaintiff attempted to file a DIR report with the 28" precinct about a violation of
a restraining order Powell had committed on 10/21/11 against an order of protection issued by Judge
Sattler (Docket #0-00763-11, File # 1685, order #201 1-1195 issued on 9/29/11 expiring on 3/29/12.)
Plaintiff was refused the opportunity to make a report of the violation on the date of occurrence.
Plaintiff went back on subsequent days in an attempt to file the report and Captain Williams, the CO of
the 28th precinct, instructed his DV officers to take the report. The DV officer who took the report
eventually (id # 939468) ripped up the report and refused to process il (Exhibit # 14 copy of report
ripped up by DV officers). When following up the next week on the status of the DIR Plaintiff was
told it was missing and that she was not invited back into the precinct to refile it. Plaintiff was
accompanied on 12/01/11 by representatives from the St. Luke’s Roosevelt Hospital Crime Victims
Center back to the precinct to refile a new DIR (Exhibit # 15.) The DIR was accepted by the SGT (id
# 933944). At that time Plaintiff received an apology from the new DV SGT about the missing DIR
and she provided a copy of the missing DIR to the SGT. The new DIR was assigned to Detective
Ransom of the 28th squad who did not follow-up on any investigation regarding the complaint. In
fact sgt Ransom engaged in a game of telephone cat and mouse with Plaintiff and Powell was never

arrested, investigated or questioned about his offense against the court order.

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October 2011 Plaintiff filed [AB complaint # 11-49386 against 28 pct. DV officers Rosendary and
Simmons WHO THREW AWAY her 61 when Plaintiff complained that Powell was violating the
terms of her restraining order against him. (exhibits 14 & 15) complaint cl-1-667494377. This
complaint was referred back to the precinct for investigation by the manager of the officers, the SGT
also marked the complaint as UNSUBSTANTIATED. The matter is currently under investigation by
the OIG NYPD.

1/20/12 Plaintiff is attacked by woman named INA near Plaintiff's brownstone. This woman has
known Plaintiff’s batterer since he was a child, is a known street walker, crack/cocaine addict and has
had her youngest daughter, Sarde, removed from her by children’s services. She encountered Plaintiff
as she was walking to the store and began yelling at Plaintiff about how she loved watching people
attack and harass Plaintiff whenever she left her home. Plaintiff replied that she was a crack whore
who couldn’t even take care of her own children, that often Plaintiff had to care for ‘Dee-Dee” (short
for Sarde) often when she was too cracked out to help her own daughter with her home or when she
fell off her bike and needed bandaging and love. Ina became enraged and smacked Plaintiff in the
face with a closed fist resulting in Plaintiff’s front right tooth becoming dislodged and landing on the
sidewalk. As blood spurted from Plaintiffs face and she searched the sidewalk for her missing tooth
Ina picked up a long wooden leg from an old table that still had large protruding nails at the top of it
where it had once been attached to the tabletop. She began to run at Plaintiff with this weapon and the
only person on the sidewalk who interfered was the neighborhood UPS guy, Danny, who jumped off
his truck and tackled INA so she would not club Plaintiff. Plaintiff then waved- down a passing
NYPD cruiser. IT was a Manhattan north It. and his assistant who took Plaintiff’s details and said they
would on pass her complaint to the 28 but that Plaintiff should also call 911, which Plaintiff did. The
complaint was assigned to Dt, Fontanez who followed up once with Plaintiff asking who Plaintiff's
assailant was. Plaintiff gave her first name and address to Fontanez and he mentioned he couldn’t
make an arrest based on that. Plaintiff called Fontanez multiple times reminding him that the statute
of limitations on assault is two years and he told Plaintiff that he couldn’t do anything because his
hands were “tied.”

4/17/12 Plaintiff is attacked in front of home again. Police Called: inform plaintiff no services are

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available to her from NYPD.

7/14/12, Plaintiff is attacked in front of 200 St. Nicholas Ave., around the corner from her home on
way home from store. Hair grabbed and slammed over and over onto pavement by associates of RAP.
Knee damaged bruises all over. Plaintiff called 911 around 200 am in the morning and P.O. Johns and
partner responded, told Plaintiff they wouldn't do anything to help. PLAINTIFF insisted it is HER
constitutional right to make a 61 report and that it is illegal for the police to refuse to take a report.
They gave Plaintiff an incident slip marked “harassment around 230 a.m. No one ever called or came
by her brownstone to investigate or follow up. Plaintiff attempted to get an ID number for her
complaint and DT Larocca located the complaint number.

On July 24, 2012, all charges (docket #s 20075-2011 and 20111-2011) are ordered dismissed and
sealed by Judge Tandra Dawson in the I-DV Part of New York Supreme Court (Exhibit #7). Plaintiff
was never given an explanation as to why or even permitted to stand in front of the judge and add
something onto the record after being forced to stand at the same table as those usually accused of
beating their intimate partners in court. She was pulled aside by one of Judge Dawson’s clerks and told
that the charges would be dismissed and told to leave the courtroom.

7/25-7/25 2012 (Late night/early morning on the 25") Incident at Soldier McGee’s Bar. See Exhibit “
| photos dated on or about 7/28/12. In this case the man who attacked Plaintiff (incident #2012-020-
2969), was let go by the 20" precinct and he continued to stalk, flash, and trespass and terrorize other

women in town. The same man who attacked Plaintiff on 7/28/12 went on to continue to terrorize

women in NYC.)

 

 

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Mr. Baly went on to assault, stalk, masturbate on, and trespass against several other women in town
after he was not punished for his acts against Plaintiff. Instead, Mr. Baly was set free by the 20" pet.’s
Detective Galan to purport other crimes on the public: he was arrested in November of 2012 for lewd
acts on an Amtrak train, arrested in March of 2013 for trespassing and stalking, again in May, again in
June and again in July of 2013. The system itself aided and abetted Mr. Baly in his crime spree against
other women in the City of New York. Mr. Wells needed to win against Plaintiff: a colleague of his
sat on a case against a man who should have been arrested and penalized for his behavior as well as
under psychiatric care.

Over a year later charges were subsequently brought against the man, Rami Baly, OVER A YEAR
LATER AFTER HE HAD ATTACKED FIVE OTHER WOMEN IN NYC (New York Criminal Court
case #s 2013NY031505, 2013NY049135, and 2013CN000347) the same man who attacked Plaintiff
on 7/28/12. All other crimes Mr. Baly was charged with occurred after Baly attacked Plaintiff and was
allowed to walk without arrest for his crimes against plaintiff when he was re-arrested in August of

2012 (case # 2012NY067321). Baly proceeded ona crime spree against women that ran from the fall

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of 2012 to the summer of 2013. On numerous occasions the detectives and the other ranking members
(Lt. Carbone) of the 20th precinct informed and her advocates from Saint Luke’s Roosevelt Hospital’s
Crime Victims Center that the reason that Mr. Baly had not been arrested was that he could not be
located. Mr. Baly had paid with a credit card that evening at Soldier McGee’s bar and the DAs office
refused to request a subpoena from the court to attain his billing information so that he could be
apprehended.

When Mr. Baly returned to the bar on or about August 25" of 2012 approximately a month after
assaulting Plaintiff staff members alerted the 20th precinct and he was apprehended. When he was
approached by officers in the bar he acted disorderly, allegedly fought with officers and resisted arrest.
He was arrested (case # 2012NY06732 1) and released and given “time-served” but not charged with
the assault against Plaintiff on July 28, 2012. The detective assigned to the case, Galan, pretended Baly
could not be located even though this was not the case. He had been arrested already and not charged
with the crime against me but was charged with acting disorderly and resisting arrest when NYPD
approached him to question him. Plaintiff pushed the case and her advocate, Kerri Toner, from the St.
Luke’s Roosevelt Crime Victims Center /Connect NYC inquired as to why no photo lineup had been
done after the assault and nor any follow-up was made to trace Mr. Baly after he was let go as per
procedure outlined in the NYPD Patrol handbook (Exhibit #50).

Ms. Toner was told that the case was being pursued and Baly could not be located and she made notes
to this effect in her log (Amicus Brief to follow.) It was not until after Mr. Baly had committed other
predatory crimes against other women that Baly was arrested for his assault against PLAINTIFF,
which was almost a year after his crime! Baly was arrested on 4/24/13 NINE MONTHS AFTER he
assaulted Plaintiff when he appeared in criminal court to answer charges of criminal trespass (PL
140.01(a)), public lewdness PL 245.00), and public exposure of a person (PL 245.01). He had been
arrested for these NEW CRIMES against ANOTHER WOMAN by the 1° Precinct’s Officer Jessica
Valle on 4/21/13 for crimes he committed against Kristyn Abbale (see Exhibit # 51). A prosecution of
Baly for his crime against Plaintiff was initiated on paper, never investigated by Das office (See
Exhibit # 41 Statement from Soldier McGee’s Bartender stating he was NEVER contacted by ADA

HIGGENS) but later dropped. The DAs office told the judge presiding over the case that they couldn’t

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locate Plaintiff to testify and the case 30-30’d, The bartender who witnessed events the night of the
attack and when the man returned to the bar weeks later was never interviewed by police. ADA Laura.
Higgins who was assigned to prosecute the case informed Plaintiff that her allegations were too
difficult to prove. Plaintiff has subsequently made a request to Judge McGrath to UNSEAL the case
file so that ADA Higgens’ lies on the court record can be revealed.

The detective assigned to the case, Galan, pretended Baly could not be located even though this was
not the case and was a blatant lie and covered up for the fact that Detective Galan had not executed an
investigation into Plaintiff's complaint of assault as per the mandates of the NYPD Police handbook.
Plaintiff pushed the case and her advocates from the St. Luke’s Roosevelt Crime Victims Center
inquired as to why no photo lineup had been done after the assault and no follow-up was made to trace
Mr. Baly after he was let go. The advocate was told that the case was being pursued and Baly could
not be located and she made notes to this effect in her log. It was not until after Mr. Baly had
committed other predatory crimes against other women that prosecution of Baly for his crimes against
Plaintiff was initiated but later dropped. The DAs office told the judge presiding over the case that
they couldn’t locate PLAINTIFF to testify and the case 30-30’d. The bartender who witnessed events
the night of the attack and when the man returned to the bar weeks later was never interviewed by
police.

10/17/12: Plaintiff is Convicted of Disorderly conduct for actions on 9/24/11 when Plaintiff called for
Police assistance because she had been assaulted in a midtown bar. The conviction revolved around
ADA Wells’ LIE about the tone of Plaintiff’s voice. He coached the cops to say that Plaintiff

screamed at the top of her lungs at a level TEN (being the loudest a human voice can possibly make
according to Wells). Never had the cops made this statement before to any interviewer of the CCRB
or in their log books (See Exhibit #s 19 & 20 & 21 CCRB audio Interviews and logbooks). The reason
Mr. Wells had to coach the cops to LIE is this is the only way he could win the case. This is why he
didn’t want the video tapes introduced into evidence. He did not want to have to suborn perjury but
was forced to do so to win the case and tried everything in his power to avoid this. There simply is no

other explanation for his reticence in presenting the tapes to court.

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Plaintiff was convicted of TWO counts of disorderly conduct as one was for allegedly screaming and
one was for making an obscene gesture but never in court did anyone mention that she made an
obscene gesture in their logs, in their CCRB interviews or at Trial. Instead it was merely just
bivouacked onto the other charge without any lip-service whatsoever.

Mr. Wells started his statements at trial by alleging to the judge that Plaintiff is a “fabricator” and that
she had hundreds of criminal charges of Domestic Violence filed against her because of this false fact.
He was so hell-bent on making Plaintiff appear to be a lying fabricator that he asked his colleague,

ADA Bernard, to decline to prosecute another man (Mr. Baly see above) who had hit Plaintiff outside
of a bar on July 28, 2012 shortly before Plaintiff's trial date for disorderly conduct on the evening of
September 24, 2011 on the night of the Occupy Wall Street Protests that threw the City into mayhem.
That man, Rami Baly went on to assault, stalk, masturbate on, and trespass against several other
women in town BECAUSE HE WAS not punished for his acts against Plaintiff. Mr. Wells couldn’t
have Plaintiff appear as an innocent defendant in the same courthouse at the same time he was trying to
paint her as a crazy fabricator to win a disorderly conduct conviction. So Mr. Baly was set free instead
to punch NYPD officers (he was arrested a month later for assaulting an officer, arrested in November
of 2012 for lewd acts on an Amtrak train, arrested in March of 2013 for trespassing and stalking, again
in May, again in June and again in July of 2013. Conveniently Mr. Wells aided and abetted Mr. Baly
in his crime spree against other women in the City of New York by tricking his fellow colleague into
declining to prosecute Mr. Baly so that he could paint me as ugly as possible on a fresh courtroom
canvas. (See Exhibit # 43 Letter to MDAO Conviction Integrity Unit and Letter to Chief of Staff,
MDAO Jeffrey Schlanger Exhibit # 43.)

10/18/12 While walking home from the subway during a nightly adjournment of trial for Disorderly
Conduct on 125th street and passing 200 St. Nicholas Ave Plaintiff was attacked by a man named
Willy who sells Heroin on the stoop of that building and is an associate of RAP. He jumped Plaintiff
as she was passing his stoop and threw Plaintiff onto the ground causing substantial damage to her
right knee (see photos Exhibit #1 photos dated 10/17/12 ). Plaintiff went to the emergency room and
has reports and follow-ups from her orthopedic surgeon stating that she needs knee surgery as a result

of attack (Exhibit #23). P.O. Longo responded (shield # 31565) and said they were instructed by desk

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sergeant not to take Plaintiff's report. Plaintiff insisted and they said they would turn in a notation to
the desk sergeant about the incident. Plaintiff called the desk sergeant and complained No one ever
called Plaintiff to follow up on this assault. complaint # 2012-28-005194. The first police who
responded to my call said; ‘aren’t you the crazy one we are not supposed to take reports from?”
P.O.sLongo and Walker eventually followed up after Plaintiff called 911 and complained about the
first officers on scene. P.O. Walker sympathetically stated to Plaintiff that the District Attorney’s
office had instructed the precinct not to respond to any of her calls. This was Witnessed by Plaintiff's
neighbor, Elizabeth Walker, who is a graduate of Harvard University, Colombia Law School and a
PLAINTIFF MEMBER OF THE NEW YORK BAR ASSOCIATION. WALKER PRESSED
WILLIAM'S AND LONGO TO TAKE her COMPLAINT, reminded them that it is illegal to deny a
person police services. Williams commented that the precinct had been instructed by the District
Attorney’s office to not respond to any calls Plaintiff made AND THEY took Plaintiff's iriformation
and told Plaintiff nothing would be done eventually. (See Exhibit # 30 Letter from Elizabeth Walker.)
On the night of 6/2/2013-6/3/2013 while en route home from the Amsterdam Ale house on 76th and
Amsterdam where Plaintiff had dinner with a friend she instructed the cab driver to follow a certain
route and he refused. She asked him to stop his cab so she could get out and instead he locked the
doors and sped up. He carried on like this for a number of blocks while Plaintiff screamed at him to
stop the cab and let Plaintiff out. Plaintiff called 911 from the back of the cab and when we stopped at
ared light nearby police from the 28th pct. were called over. Officer Officer was une of these officers
and he announced to his partner that Plaintiff was not to be given police services or assisted in any way
and that he refused to take a report from Plaintiff. Plaintiff called 911 and reported this incident.
Surprise; it was never followed up on.

6/2013; while in route to the subway past precinct from her home Detectives from the 28 squad opened
their windows overlooking my path up St. Nicholas to the 125th St. subway station and ‘MOOed’ at
Plaintiff as if she were a cow. Plaintiff called the precinct and complained to the CO and his assistant
immediately.

July 2013; while walking her dog near home Plaintiff is given a jaywalking (Exhibit # 9 Jaywalking

Summons) ticket on the corner of 120th and St. Nicholas (Plaintiff has eyewitnesses that will testify

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that she did not jaywalk) even though she wasn’t jaywalking. 28th pct. cops were rude and
condescending. She fought the ticket in court and won (docket # 2013SN053520).

October 14, 2014: 28" Precinct blocks Plaintiff from commenting on 28" Pct. NYPD public Twitter
account effectively stripping her of her right to redress the government for grievances and denying her
her rights to free speech (See Exhibit # 44 311 Complaint Letter forwarded to IAB detailing 28" PCT’s
blocking Plaintiff on Twitter for tweeting about the poor Domestic Violence assistance rate within that
precinct in opposition to the City of New York’s formal Social Media Policy which only permits users
to be blocked by public officials if they are abusive.

In June of 2013 Plaintiff was en route to the train passing the 28th precinct and the detectives yelled
out her name from the second-story squad window and then proceeded to MOO at her as if she were a
Cow. Other times the cruisers pass Plaintiff on the street and make sucking sounds at her (insinuating
sexual acts with their crude verbosity

The DAs office has continued their posture that Plaintiff is not worthy of police services even after
charges have been dismissed against her in violation of her Constitutional Right(s) to Equal Protection
under the law and Due Process. Plaintiff can provide incident IDs that were never followed up on,
hospital reports, proof that officers refused to even take a report, or J aywalking tickets issued to
Plaintiff (Exhibit #9) for the latter date when officers from the 28th pct. engaged in outright
harassment of Plaintiff (Docket Number 2013SN053520 was dismissed on 8/27/2013). The police
have been instructed not to assist Plaintiff or to prosecute those who do harm to het

Plaintiff provided phones with blackmail messages from Powell to the DAs office on June 24, 2011
during a “Queen for a Day” meeting. At the conclusion of Plaintiffs prosecution when the charges
were dismissed and sealed Plaintiff made multiple requests for her property back and was refused by
Wells. Plaintiff maintains that the DAs office has unlawfully held her property and demands the court
to order its return to her as per the stipulations of the “Queen for the day” agreement between Larry
Newman, Deputy of the Manhattan District Attorney Office’s SVU unit and Plaintiffs criminal
defense lawyer Stephen Kartagener. All of Plaintiff's attomeys including Kartagener, Benjamin Dell
and Tajuana Johnson have demanded a return of the materials to Plaintiff as the case has concluded.

Plaintiff made an inquiry to Wells’ supervisor in the Trial Bureau, Minton Sabor, for the return of her

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property and was again refused. This is a violation to Ms. Plaintiff’s right to privacy and from unlawful
search and seizure. Sensitive, intimate, nude of Plaintiff that Powell texted to Plaintiff that he intended
to blackmail her with are included among the media on the phones and the District Attorney’s office
has no right to keep these materials. McKinney’s Laws specifically state that: “Law enforcement
agencies and Das attorneys shall promptly return property held for evidentiary purposes unless there is
a compelling reason for retaining it relating to proof at trial...” (McKinney’s 642-3 Criteria for Fair
Treatment Standards.) (Exhibit #45)

June 2014 ADA Maloney in DIRECT CONFLICT OF INTEREST WITH HER ETHICAL
OBLIGATIONS AND VOWS takes on the role of acting as FOIL officer in response to Plaintiffs
FOIA request for all information in her MDAO files (Exhibits 44a-44d), As Maloney is the attorney
representing individuals named in lawsuit how possibly could she fulfill her legal obligation to provide
Plaintiff with materials she is legally and lawfully entitled to that would also implicate her colleagues
in Plaintiff’s lawsuit? Who allowed this mewling ingénue to take on the responsibility of being the
same FOIL officer to respond to Plaintiffs request. It does not bode well that the MDAO blatantly
ignores conflict of interests such as this and that anyone in the MDAO, especially Maloney’s
supervisors Patricia Bailey and Susan Roque would allow this misdeed and clear violation of ethics
and legal standards to take place. Ms. Maloney is daughter of the very congresswoman who wrote the
FOIA legislation prohibiting denials of requests based on “Pending Litigation” that is not criminal in
nature (See Exhibit #s 44a- 44d FOIA request, denial, appeal and follow up.)

March 2014, Plaintiff is denied entry into the Manhattan Family Justice Center by Hannah Pennington,
the Director of the FJC. Pennington cites Plaintiffs lawsuit against the MDAO as reason for said
denial of services as “several people named on Plaintiff's complaint work jointly in the MDAO and in
the FJC.” Plaintiff is denied psychiatric counseling, group therapy sessions with her contemporary DV
survivors, access to wellness resources, access to Housing Relocation services, access to special case
workers from the Human Resources Administration who assist in benefit case management, access to a
legal team to assist Plaintiff with her MANY legal needs to stave eviction and to assist in attaining
Identification, bank accounts and small credit instruments offered to clients of the FIC (See Exhibit #

45 letter documenting denial of services/equal protection under the law from the Family Justice

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Center).

On or about July 2, 2015 Plaintiff was assaulted in a restaurant within the confines of the Midtown
North Precinct and was again denied the ability to make a complaint. She was instead taken to the
Bellevue Psych ward in handcuffs for evaluation. As Plaintiffs mental history record is familiar to
Bellevue Hospital (Plaintiff is treated at Bellevue’s James B. Zadroga 9/11 Survivor’s clinic on a
regular basis) all of Plaintiff's psych files were reviewed and after a ten minute conversation with the
doctors at the ward Plaintiff was determined to not be crazy and released from the Psych Ward.

FOIA ACTION

The City Is Deliberately Indifferent to a class of CONFIDENTIAL INFORMANTS’ AND MAJOR
CASE COMPLAINTANTS’ Sexual AND Physical/Emotional/Economic Abuse of Women

The City, which, through NYPD, and the various District Attorney’s Offices including the MDAO, is
responsible for the evaluation, investigation, servicing, reporting, care, updating of as to case status,
and of intimate-partner assault crime viclims and sexual slaves, and has. through its acts and
omissions, deliberately malicious or made in the face of several Hobsian, social, fantastical choices,
facilitated the trafficking, sexual slavery, sexual abuse, mental and physical and economic battery this
class of victims.

CLASS ACTION ALLEGATIONS
Plaintiff Kelly Price brings this action on behalf of herself and, for certain claims,

as a class action under Rules 23(a), (b)(1) and b(2) of the Federal Rules of Civil Procedure on behalf of
a class consisting of all women who are victims of trafficking who turn to the authorities for help in
extracting themselves from sexua! enslavement at the hands of a Confidential Informant or group of
Confidential Informants, or complainant in (a) major case/s pending in the criminal courl system when
the victim approaches the NYPD or MDAO for help. Many victims, such as Plaintiff Price, for a
variety of unsavory, illegal, unconstitutional reasons, end up on RIKERS ISLAND on some sort of
cross-complaint to their claims of abuse, can’t make bail, and find themselves further subjected to
abuse and sexual slavery at the hands of other prisoners and corrections officers. Often their abuser
walks free: their use of the criminal justice system to further control and command the lives of the
abused solidified, endorsed, and tacitly approved by agencies of the criminal justice system: the
NYPD, the District Attorney’s Offices, and the court system. The Women’s Prison Association
estimates that 75% of women in Rikers’ Rose M. Singer Center are Domestic Violence Survivors.

Based on a recent Department of Justice Survey statistics, at any given time, upwards of fifty women

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at RMSC are experiencing or have recently experienced rape or other sexual abuse by staff, and many
more incidents likely go unreported (The U.S. Attorney’s Office for the S.D.N.Y., CRIPA
Investigation of the New York Department of Correction Jails on Rikers Island (2014), available at
hitp://genius.com/Preet-bharara-rikers-report-i-chaos-at-rikers-annotated. And U.S. Dep’t of Justice,
Regulatory Impact Assessment for PREA Final Rule, at 17-18 (May 17, 2012), available at
http://www.ojp.usdoj.gov/programs/pdfs/prea_ria.pdf (concluding, based upon the DOJ Survey, that
between 69 percent and 82 percent of inmates who reported sexual abuse in response to the survey
stated that they had never reported an incident to corrections staff).

**Other Classes: 240.30, denied services, blocked on twitter,

The class is sufficiently numerous, and the population of women potentially effected by this
secondary-abuse by the Criminal Justice System incarcerated on Rikers at the Rose M. Singer Center
or merely forsaken (willfully or mistakenly) by the NYPD and District Attorneys’ offices continually
changes, rendering joinder of all members impracticable. Additionally, as the only agencies aware of
this treatment, with access to statistics of how many women are falsely labeled “fabricators” or “Cross-
aggressors” physical or verbal are the agencies themselves accused of this misconduct. Cyrus Vance
claims his office handles 5000 claims of Domestic Violence per year. How many of these
complainants are labeled “fabricators” without proper due process or investigation? How many are
denied victim’s protocols as defined by McKinney’s? How many are denied services at the Family
Justice Centers?

Recently the Commissioner of Domestic Violence, Rose Pierre-Louis reported at the “Not on MY
WATCH” International Interfaith anti-trafficking and anti-domestic violence Conference held at the
Salvation Army Headquarters in NYC on August 6, 2015 that in 2014 in New York City ~300,000
DIRs or complaints of Domestic Violence were filed with the NYPD (actual numbers: Manhattan:
40749, Bronx: 81870, Brooklyn: 87828, Queens: 56708, Staten Island: 15493.) How many of these
complaints from women such as Plaintiff Price ended in the complainant’s incarceration? How many
of these women who bravely summoned the courage to try to break free of their chains of bondage and
made reports of abuse to the proper authorities found themselves forsaken and thwarted and still sit

suffering to this day at the Rose M. Singer Center at Rikers Island? The only agencies with the keys to

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unlocking this information are the very agencies with their hands on the slave-master’s whip itself. If
the MDAO asserts its handles 5000 complaints of domestic violence a year, and the NYPD asserts it
receives TEN TIMES that number of complaints what is the vetting procedure/due process assigned to
the approximately 45,000 women in Manhattan who are denied to have their complaints investigated,
taken seriously and given proper victims’ services? We know of at least one other case cited above in
Brooklyn in recent years (Citations above.) How many other victims suffer alone whose very chains
are bonded by the Police and District Attorney’s in our great city?

The questions of law and fact presented by Plaintiff Price common to all members of the class,
including, but not limited to, whether the City’s policies, practices, acts and omissions cause women in
who come forward to report violent abuse and trafficking to be subject to a substantial pattern of
continued abuse and unreasonable further torture, psychological deprivation and punishment, risk and
experience of rape and other sexual abuse by other inmates, correctional facility staff at Rikers and
other city Jails. Questions of law and fact concerning these policies and practices include, but are not

limited to:

a. Whether, despite knowledge that district attorneys and police officers routinely turn a blind eye to
their obligations under McKinney’s Crime Victim’s Statutes to report, investigate and serve the
abused women who turn to these officials and agencies at their darkest hour. The City has failed to
take action sufficient to protect the women/victims who come forward from recurrent and ongoing
acts of continued abuse and other abuse by Das, officers, court officers and corrections officers
including denial of services, verbal abuse, malicious prosecution, abuse of processes, and false
imprisonment leading in many circumstances to forced sexual intercourse, oral sexual acts, sexual
touching, public masturbation, and demeaning sexual comments while on Rikers and in other City
Jails and in going through often painful elongated court cases pending against them.

b. Whether the City has failed to employ sufficient measures to reduce the risk of this secondary
victimization such as adequate oversight during the initial complainttant interview so that the
whimsy and biases of one loan young prosecutor is not a major factor in the outcome of the
narrative thrust of the case;

c. Whether the City has failed to employ sufficient measures ensuring that complainants against

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Confidential Informants and witnesses participating in major cases of primary importance to
district attorneys are treated to the same guarded process that those women and victims are who
bring complaints against Uniformed and Ununiformed Police Officers

Whether the city has failed to employ oversight and heightened monitoring of the behavior of
district attorneys who attempt to further mute the voice of the true victim by denying them further
police services UNDER ANY CIRCUMSTANCE telated or not to the initial complaint and by
denying them entrée to Family Justice Centers and other victims services offered to other souls
felled by abuse.

Whether the City has failed to adequately set up a pathway from the Domestic Violence
community such as the Mt. Sinai, St. Luke’s Roosevelt Crime Victims Center, Sanctuary for
Families et a who often care for those re-victimized to filter communications regarding true
victims regarded as pariah, fabricators, or aggressors etroneously back to the district attorneys
who have made the wrong determination in the first place. District attorneys emboldened by their
powers protected by absolute and qualified immunities often tip the scales using sometimes subtle
and sometimes overt tricks and acts to re-write the victims’ narrative and cast them ina light
unfavorable to their ultimate protection and security for many reasons including but not limited to
when the accused is a Confidential Informant or complainant in a major case.

Whether the City’s current training practices on McKinney’s Crime Victims’ Statutes and its
mandates for how a complainant of trafficking and certain classes of Felony Assault must be
evaluated and taken seriously are in place and effectively internalized into the workflow of the
NYPD and District Attorney’s offices.

Whether the City’s system for the reporting and investigation of secondary abuse, which relies
almost entirely on the NYPD and District Attorney’s offices such as the MDAO to produce their
own numbers of women cast aside are adequate and comprehensive when there is NO
OVERSIGHT of these activities by the DOI is adequate. When Plaintiff Price made various
complaints to the DOI they were referred BACK to the District Attorney’s office for Internal
Investigation!

Whether the City has failed to consistently and adequately investigate reports of the secondary

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abuse of trafficking and/or domestic violence victims in a prompt or thorough manner;

i. Whether the City has failed to appropriately discipline and terminate assistant district attorneys,
police officers and deputy district attorneys found to have subjected trafficking and/or domestic
violence complainants to secondary victimization by not undertaking proper investigative or
procedural mandates in place by the NY State legislator to protect victims and ensure their

protections;

j. Whether the City’s policy and practice has failed to protect those who report trafficking or

domestic violence other sexual, mental, or economic abuse by Confidential Informants and or
complainants on major cases from retaliation by police officers, detectives, precincts, and district
attorneys whose credibility and career often hinge on the record of their case judgement and
conviction rates.

k. Whether the above-enumerated and other failings of City policy directly facilitated the continued
trafficking, domestic violence, emotional, physical economic and sexual abuse of women/victims
who come forward for assistance to the authorities during their darkest, most fragile hour.

Plaintiff Kelly Price will fairly and adequately protect the interests of the class. Plaintiff Kelly Price’s

interests are aligned with, and not antagonistic to, those of the other members of the class, and Plaintiff

has made, is making, and plans to request of the court Pro Bono permission from the court to attain in
her best efforts to retain counsel competent and experienced in civil rights and class action litigation.

Prosecuting separate actions by individual] class members would create a risk of (a) inconsistent or

varying adjudications with respect to individual class members that would establish incompatible

standards of conduct for the City, and/or (b) adjudications with respect to individual class members
that, as a practical matter, would be dispositive of the interests of the other members not parties to the
individual adjudications or would substantially impair or impede their ability to protect their individual
interests.

The City has acted, and refused to act, on grounds that apply generally to the class, so that final

injunctive relief or corresponding declaratory relief is appropriate respecting the class as a whole.

CLAIM ON BEHALF OF THE PLAINTIFF CLASS

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COUNT I

(CLASS DUE PROCESS CLAIM AGAINST THE CITY)

Plaintiff Price repeats and reallege each of the allegations contained in paragraphs | through 155 with

the same force and effect as if fully set forth herein.

By its policies, practices, acts, and omissions, the City has caused the plaintiff class of trafficked and

battered women whose abusers are Confidential Informants and/or witnesses/complainants on major

cases to be subjected to further abuse by the criminal justice system when they come forward for help,
in violation of their due process rights under the Fourteenth Amendment to the United States

Constitution.

COUNT TWO: SECOND CAUSE OF ACTION

(Malicious Prosecution Under Federal Law, All Defendants)

Plaintiff repeats and realleges each and every allegation contained in {1 through 7155 of this

Complaint. By virtue of the foregoing, the Individual Defendants, acting in concert with each other and

with additional persons for whose acts they are liable, initiated, continued, and/or caused the initiation

or continuation of, criminal proceedings against Plaintiff.

a. The criminal proceedings terminated in Plaintiffs favor. There was no probable cause for the
commencement or the continuation of the criminal proceedings. The Defendants acted with actual
malice. Defendant City of New York is liable under the principle of respondent superior.

COUNT THREE: THIRD CAUSE OF ACTION

a, (Intentional Infliction of Emotional Distress Under Federal Law; All Defendants)

b. Plaintiff repeats and realleges each and every allegation contained in contained in §1 through ]
155 of this Complaint. of this Complaint. Defendants engaged in a continuous pattern of extreme
and outrageous conduct directed at Plaintiff. Defendants engaged in that pattern of conduct with
an intention to cause, or in reckless disregard of the substantial probability that it would cause,
Plaintiff severe emotional distress. Specifically, defendants, individually, in concert with,
conspiring with, and/or aiding and abetting one another and other persons for whose acts they are
liable, while acting in an investigative or administrative capacity, coerced witnesses into making

false statements to be used against Plaintiff, created false official records to be used against

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